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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CLIMATE UNITED FUND
7550 Wisconsin Avenue 8th Floor
Bethesda, Maryland 20814

                            Plaintiff,

       v.

CITIBANK, N.A.,                                     ECF CASE
5800 South Corporate Place
Sioux Falls, South Dakota 57108,                    No. 1:25-cv-00698

        and

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460,

        and

LEE ZELDIN, in his official capacity as
ADMINISTRATOR, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

                            Defendants.



      MEMORANDUM OF LAW IN SUPPORT OF CLIMATE UNITED FUND’S
           MOTION FOR TEMPORARY RESTRAINING ORDER

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                                       INTRODUCTION

       Plaintiff Climate United Fund (“Climate United”) seeks a temporary restraining order that

would halt Citibank, N.A.’s (“Citibank”) illegal refusal to honor Climate United’s requests for

funds to which Climate United is legally entitled. Statements by both Citibank and EPA’s

Administrator strongly suggest that EPA has caused Citibank’s illegal actions. As such, Climate

United also seeks a temporary restraining order against EPA that would bar EPA from impeding

Citibank from complying with its legal obligations. Because Climate United is undergoing

immediate and irreparable harm as a result of Defendants’ conduct, and because Defendants’

conduct undermines an Act of Congress, Climate United requests a temporary restraining order as

soon as possible.

       In 2022, Congress passed and President Biden signed into law the Inflation Reduction Act.

The Act authorized the Greenhouse Gas Reduction Fund, which appropriated $27 billion to invest

in clean energy in communities across the country and directed EPA’s Administrator to make

grants to eligible recipients. See 42 U.S.C. § 7434(a). The Climate United coalition—which brings

together three established nonprofits that have a combined 120 years of experience managing more

than $30 billion of private and institutional capital—applied for grant funding from the Greenhouse

Gas Reduction Fund, and was awarded $6.97 billion following EPA’s rigorous grant competition

process. Climate United’s grant funds are held at Citibank, under a Financial Agent Agreement

between Citibank and the U.S. Treasury Department and an Account Control Agreement (“ACA”)

between Citibank, Climate United, and EPA.

       Section 2 of the ACA states: “The Bank shall comply with all instructions, notifications,

and entitlement orders the Bank receives directing the disposition of funds and financial assets in

the Accounts” originated by Climate United “until such time that the Bank receives” a “Notice of



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Exclusive Control” from EPA stating EPA “is exercising its right to exclusive control over an

Account.” In other words, if Climate United requests a disbursement, the Bank “shall” honor that

disbursement unless EPA sends a “Notice of Exclusive Control.” EPA has never sent a “Notice of

Exclusive Control.” Thus, the ACA is clear: Citibank must honor Climate United’s requests.

       On February 18, 2025, however, Citibank stopped honoring Climate United’s requests.

Despite Climate United’s many pleas for information, Citibank has refused to explain this blatant

breach of contract. It ignored Climate United’s pleas until March 3, 2025, when it made the vague

statement that it had forwarded Climate United’s communications to EPA and was “awaiting

further guidance.”

       Meanwhile, EPA’s Administrator has been making public statements that have apparently

caused Citibank to stop disbursing funds to Climate United and other grantees. On February 12,

2025, the Administrator publicly stated, without basis, that “the financial agent agreement with the

Bank needs to be instantly terminated,” and stated that “the Bank must immediately return” grant

funds. On February 23, 2025, the Administrator stated, again without basis, that “the entire

scheme, in my opinion, is criminal.” On March 4, 2025, the Administrator publicly announced:

“The money is now FROZEN.”

       Climate United does not know why the Administrator is making these statements. After

Climate United sought more information from EPA, EPA offered to meet with Climate United

during the week of February 24, and Climate United agreed to meet. EPA then proceeded to

reschedule the meeting three times and then cancel it altogether without explanation. Climate

United requested a smaller meeting, in case scheduling for multiple people was the challenge, and

did not receive any response. As of the date of this filing, there has been no substantive

communication from EPA.



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       EPA has never identified any legal basis for freezing these funds. According to public

reporting, the government’s efforts to find such a legal basis have been rejected. Denise Cheung,

the Chief of the Criminal Division at the D.C. U.S. Attorney’s Office, was ordered to send a letter

to Citibank directing that Citibank freeze grantees’ assets. She viewed the order as unlawful and

resigned—after 24 years in the office—rather than carry it out. According to a follow-up article,

the U.S. Attorney submitted a seizure warrant application, but it was rejected. Prosecutors in a

different U.S. Attorney’s Office refused a request to seek a court-ordered bank freeze. There is no

evidence that Climate United has done anything wrong. It has not.

       And yet, despite the absence of any legal basis, Climate United’s funds are frozen. On

information and belief, other grantees are in the same position. The combined actions of Citibank

and EPA effectively nullify a congressionally mandated and funded program.

       Climate United is now facing irreparable harm. Under the terms of Climate United’s grant,

it generally can only seek 14 business days’ worth of funds at a time. It has now been more than

14 business days since Citibank started withholding funds. As explained in the attached

declaration, Climate United has already been compelled to defer compensation for certain staff to

preserve its available cash, while also confronting increasingly unfavorable terms from essential

vendors and prospective deal partners. If the freeze continues, Climate United will be forced to

furlough staff, to renege on its loan obligations, and to encounter grave economic harm.

       Climate United’s access to its funds must be restored immediately.

       First, Climate United requests that the Court enter a temporary restraining order directing

Citibank to comply with the ACA. This is not a close issue. Citibank cannot decline to comply

with its legal obligations based on vague statements that it is awaiting “guidance.”




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       Second, by all appearances, EPA is the cause of Citibank’s conduct. As explained below,

Citibank represented that it was awaiting EPA’s guidance; EPA’s Administrator announced on

March 4 that the funds were “frozen”; and EPA is the sole agency within the federal government

with the authority to suspend or terminate the grant. But EPA cannot exercise that authority unless

certain conditions are met, and they have not been met. Thus, the Court should restrain EPA from

impeding Citibank from complying with the ACA.

       The Court cannot permit EPA and Citibank to undermine an Act of Congress and

irreparably harm Climate United’s business without legal basis. Immediate relief is warranted.

                                   STATEMENT OF FACTS

       A.      The NCIF Was Established to Allocate Inflation Reduction Act Funding to
               Create National Clean Financing Institutions.
       In 2022, Congress passed and President Biden signed into law the Inflation Reduction Act.

Pub. L. No. 117-169, 136 Stat. 1818. The Act amended the Clean Air Act to authorize the

Greenhouse Gas Reduction Fund (“GGRF”), which appropriated $27 billion to invest in clean

energy in communities across the county. See 42 U.S.C. § 7434; About the Greenhouse Gas

Reduction Fund, EPA, https://www.epa.gov/greenhouse-gas-reduction-fund/about-greenhouse-

gas-reduction-fund (last updated Feb. 13, 2025).

       The GGRF essentially establishes “green banks,” which are “financial institutions aimed

at overcoming market barriers and scaling up investment in low-carbon technologies and climate-

resilient infrastructure.” Cong. Rsch. Serv. IN12090, EPA’s Greenhouse Gas Reduction Fund,

(updated Feb. 14, 2023), https://crsreports.congress.gov/product/pdf/IN/IN12090. Green banks are

generally used to “deliver projects that are not sufficiently met by other financial markets.” Green

Banks, EPA, https://www.epa.gov/statelocalenergy/green-banks%20 (last updated Jan. 24, 2025).




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        To establish these green financing institutions, Section 134(a)(2) of the Act appropriated

to the Administrator $11.97 billion “to make grants, on a competitive basis …, to eligible recipients

for the purposes of providing financial assistance and technical assistance in accordance with

subsection (b).” 42 U.S.C. § 7434(a)(2). In addition, Section 134(a)(3) of the Act appropriated to

the Administrator $8 billion to “make grants, on a competitive basis …, to eligible recipients for

the purposes of providing financial assistance and technical assistance in low-income and

disadvantaged communities in accordance with subsection (b).” Id. § 7434(a)(3). In turn,

subsection (b) provides that an eligible recipient shall use the grant funds in accordance with the

following: to facilitate “qualified projects at the national, regional, State, and local levels”; to

prioritize “investment in qualified projects that would otherwise lack access to financing”; to

“retain, manage, recycle, and monetize all repayments and other revenue received from fees,

interest, repaid loans, and all other types of financial assistance provided using grant funds under

this section to ensure continued operability”; and to provide “funding and technical assistance to

establish new or support existing public, quasi-public, not-for-profit, or nonprofit entities that

provide financial assistance to qualified projects.” Id. § 7434(b).

        Grant funding for qualified projects may be awarded to “public, quasi-public, not-for-

profit, or nonprofit entities,” id., that are “designed to provide capital, leverage private capital, and

provide other forms of financial assistance for the rapid deployment of low- and zero-emission

products, technologies, and services” and that meet other eligibility criteria. Id. § 7434(c)(1).

Qualified projects eligible to receive funding include any “project, activity, or technology” that

either “reduces or avoids greenhouse gas emissions and other forms of air pollution” or “assists

communities in the efforts of those communities to reduce or avoid greenhouse gas emissions and

other forms of air pollution.” Id. § 7434(c)(3).



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          Consistent with the statute, in July 2023, EPA issued a Notice of Funding Opportunity

(“NOFO”) and launched a competition for the approximately $14 billion National Clean

Investment Fund to award funding to “finance clean technology deployment nationally.” Exhibit

1 at 3. 1 The NCIF program was “funded with $11.97 billion from Section 134(a)(2) and $2.00

billion     from   Section   134(a)(3).”   Frequent    Questions    About     the   Fund,    EPA,

https://www.epa.gov/greenhouse-gas-reduction-fund/frequent-questions-about-fund (last updated

Oct. 17, 2024). The purpose of the NCIF competition was to “provide grants to 2-3 national

nonprofit financing entities to create national clean financing institutions capable of partnering

with the private sector to provide accessible, affordable financing for tens of thousands of clean

technology projects nationwide.” Ex. 1 at 4.

          The NOFO “included a robust set of application requirements and corresponding

evaluation criteria that were used to assess materials submitted to meet those application

requirements.” Review and Selection Process, EPA, https://www.epa.gov/greenhouse-gas-

reduction-fund/review-and-selection-process (last updated Aug. 16, 2024). “Application

requirements covered a diverse set of topics and included not just a detailed project narrative but

also a robust set of application attachments,” such as “organizational and governing documents;

resumes of board members and senior management; legal and compliance risk management

policies and procedures; financial statements; workplans for the first year of program

implementations, and budget narratives.” Id. EPA established a rigorous process to review and

select applications, including the establishment of review panels with broad and deep

qualifications who would then present rankings and recommendations to a Selection Official




1
 All citations to exhibits refer to the exhibits to the Declaration of Elizabeth Bafford submitted
contemporaneously with this Motion (“Decl.”).
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authorized to make the final selection for awards. Ex. 1 at 54. Under the statute, EPA’s

Administrator could award grants “on a competitive basis” until September 30, 2024. 42 U.S.C.

§ 7434(a)(1)-(2).

         B.         EPA Selected Climate United as the Largest Recipient of GGRF Funding.

         Climate United is a nonprofit financial institution whose mission is to leverage public and

private financing to remove financial barriers to deploying clean energy and “invest in solutions

that tackle our nation’s toughest economic and environmental challenges.” FAQ, What is Climate

United?, Climate United, https://weareclimateunited.org/faq (last visited Mar. 5, 2025); Decl. ¶ 4.

The Climate United coalition brings together three established nonprofits—Calvert Impact,

Community Preservation Corporation, and Center for Community Self-Help—that have a

combined 120 years of experience (30 years, 50 years, and 40 years, respectively) managing more

than $30 billion of private and institutional capital that has unlocked economic opportunity for

communities in all 50 states and territories. Specifically, Climate United is focused on “[g]reening

and electrifying businesses and commercial buildings, schools and community-supporting

institutions; community and C&I solar; electric buses and trucks; [and] other non-residential

qualified projects.” Frequently Asked Questions about the National Clean Investment Fund

(NCIF)        and     Climate   United’s   Strategy,   Climate     United     (Aug.    16,    2024),

https://weareclimateunited.org/frequently-asked-questions-ncif-and-climate-united-strategy.

Climate United accomplishes these objectives by “leverag[ing] public resources with private

capital” to provide financing for qualified projects. Id. Because Climate United’s investments

mobilize private capital, they stretch public dollars further: for every dollar invested in a program

or project, Climate United estimates up to four dollars of private capital will flow into

communities. Decl. ¶ 6.



                                                  7
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        Climate United entered the NCIF grant competition with a $13.97 billion proposal to

accelerate clean energy adoption across the U.S. economy, including by offering affordable

financing for clean technology programs. 2 As part of that application process, Climate United was

required to submit a detailed proposed budget to EPA. Decl. ¶ 9. In addition, the Notice of Award,

discussed below, included a negotiated, thoroughly reviewed, and EPA-approved final budget. Id.

¶ 12.

        At the conclusion of the agency’s lengthy and rigorous review process, Climate United was

awarded $6.97 billion. Decl. ¶ 11. The award was publicly announced by the White House in April

2024, in a press release touting Climate United’s credentials and vision. Press Release, EPA,

Biden-Harris Administration Announces $20 Billion in Grants to Mobilize Private Capital and

Deliver Clean Energy and Climate Solutions to Communities Across America (Apr. 4, 2024),

https://www.epa.gov/newsreleases/biden-harris-administration-announces-20-billion-grants-

mobilize-private-capital-and.

        Consistent with the purpose of the Inflation Reduction Act under which the NCIF funds

were appropriated, Climate United developed and EPA approved a workplan that was finalized

with the award and, like its original application, was posted publicly for full transparency. Decl.

¶ 12.




2
  While each of the coalition partners would have been eligible recipients, each formed subsidiaries
to act as the grant recipients and subrecipients allowing them to adopt EPA-required policies,
procedures, and governance specifically crafted to more efficiently deploy grant funds while
mitigating deployment risk. The subsidiaries benefit from the organizational infrastructure and
experience of their parent organizations while allowing them to comply fully with EPA oversight
requirements, and leverage grant funds with private capital more effectively as stand-alone entities.
Decl. ¶ 5.
                                                 8
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       C.      Climate United and EPA Entered Into a Grant Agreement Governing the
               Award, Including Terms and Conditions Regarding Suspension and
               Termination.
       EPA and Climate United entered into an agreement to govern the grant called a “Notice of

Award” or “NOA.” NOAs contain the grant award’s Terms and Conditions, which are binding on

the agency and the recipient. Climate United’s award was first memorialized in a NOA dated

August 8, 2024. Decl. ¶ 11; Exhibit 2. EPA issued an amended notice of award on December 20,

2024, which was substantially similar to the August NOA but included changes to the Terms and

Conditions that reflected the insights gained from the first six months of market and partner

feedback as well as other clarifications. Decl. ¶ 11; Exhibit 3.

       Importantly, the Terms and Conditions require Climate United to adhere to a rigorous set

of reporting requirements to facilitate oversight and transparency. These requirements include

Climate United to submit quarterly, semi-annual, annual, and final reports to EPA with “detailed

narratives describing program performance … supported with qualitative discussions and

quantitative metrics,” Ex. 3 at 14, submit quarterly transaction-level and project-level data reports,

id. at 15, and provide ongoing disclosures to EPA, id. at 16. In addition, the Terms and Conditions

require Climate United to “obtain prior written approval from the EPA Project Officer (who will

in turn notify the EPA Award Official) for any transfers that will not be disbursed for an Allowable

Activity within 15 business days.” Id. at 57-59.

       The Terms and Conditions also enumerate the specific requirements with which EPA must

comply to terminate or suspend Climate United’s award. Id. at 41. At bottom, EPA may not

terminate or suspend the award unilaterally.




                                                   9
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       Under the Terms and Conditions, EPA may terminate the award only in one of three

circumstances:

       (1) EPA may terminate the Agreement if Climate United engages in “substantial”

           noncompliance such that “effective performance” is “Materially Impaired.” Id.

           Effective performance is “Materially Impaired” if (1) EPA issues a “written

           determination and finding … that the Recipient has failed to achieve sufficient progress

           in accordance with the Sufficient Progress clause” and, (2) if EPA determines in its

           sole discretion that a “corrective action plan” would remedy the issue, EPA issues a

           “separate written determination and finding” that the Recipient “has not materially

           addressed its failure.” Id. at 8-9.

       (2) EPA may terminate the Agreement if Climate United engages in “material

           misrepresentation of eligibility status.” Id. at 41.

       (3) EPA may terminate the Agreement for “Waste, Fraud, or Abuse,” id., which is defined

           with reference to the EPA General Terms and Conditions and 2 C.F.R. § 200.113, id.

           at 12. Those sources require “credible evidence of the commission of a violation of

           Federal criminal law involving fraud, conflict of interest, bribery, or gratuity violations

           found in Title 18 of the United States Code or a violation of the civil False Claims Act

           (31 U.S.C. §§ 3729-3733).” EPA, General Terms and Conditions 44 (effective Oct. 1,

           2024), https://www.epa.gov/system/files/documents/2024-10/fy_2025_epa_general_

           terms_and_conditions_effective_october_1_2024_or_later.pdf; 2 C.F.R. § 200.113.

       In addition, EPA must take certain procedural steps before it may terminate the grant

award. Among other things, EPA must comply with 2 C.F.R. § 200.341, which requires EPA to

provide written notice of termination to the recipient that includes “the reasons for termination, the



                                                 10
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effective date, and the portion of the Federal award to be terminated, if applicable.” 2 C.F.R.

§ 200.341; Ex. 3 at 41 (incorporating this regulatory requirement into the grant’s Terms and

Conditions).

       As well, EPA may withhold payment for allowable costs during the period of performance

only where required by Federal statute or regulations or where (i) the recipient “has failed to

comply with the terms and conditions of the Federal award”; or (ii) the recipient is “delinquent in

a debt to the United States.” 2 C.F.R. § 200.305(b)(6). 3 Moreover, where funding is withheld on

the grounds that a recipient failed to comply with the terms and conditions of the award, the agency

may “[t]emporarily withhold payments” only where it “determines that noncompliance cannot be

remedied by imposing specific conditions.” 2 C.F.R. § 200.339.

       The December NOA was further amended in January 2025, 4 but the January NOA did not

change the operative Terms and Conditions from the December NOA. Exhibit 4 at 1, 4-5 (noting

“All Administrative Conditions Remain the Same” and “All Programmatic Conditions Remain the

Same”). The Terms and Conditions in the December NOA, described above, are thus the operative

provisions that bind both Climate United and EPA.

       D.      The Account Control Agreement Between Climate United, EPA, and
               Citibank.
       The grant requires Climate United’s grant funds to be held at Citibank, under a Financial

Agent Agreement (“FAA”) between Citibank and the U.S. Treasury Department and an Account




3
  EPA has adopted the Uniform Grant Guidance regulations codified at 2 C.F.R. 200 et seq. See
85 Fed. Reg. 61,571 (Sept. 30, 2020).
4
  The amended January NOA reflected relatively minor alterations in the allocation of particular
grant funds within existing budget categories. Compare Ex. 3 at 3, with Ex. 4 at 3. The January
NOA did not alter the overall grant award. Ex. 4 at 1.
                                                11
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Control Agreement between Citibank, Climate United, and EPA. Ex. 2 at 58; Ex. 3 at 52. 5 After a

thorough review process run by the Treasury Department, Climate United and EPA entered into

the ACA with Citibank on November 1, 2024, with an amendment on January 13, 2025. See

Exhibit 8; Exhibit 9.

       Under the ACA, Citibank is “designated and authorized to act as a financial agent of the

United States” pursuant to the authority of the Treasury Department. Ex. 8 at 1. EPA, in turn,

serves as the “Secured Party.” Id. at 1.

       Citibank’s duties with respect to the funding are exclusively “administrative or

ministerial.” Ex. 8 at 3 (explaining these duties “shall not be construed as fiduciary”). Citibank

exercises no responsibility for determining whether Climate United has complied with its

obligations under the grant award: the ACA specifies that Citibank “shall not be responsible for

any of the agreements referred to or described herein (including without limitation, the Grant

Agreement …), or for determining or compelling compliance therewith, and shall not otherwise

be bound thereby.” Id. at 3.

       Like the grant agreement, the ACA establishes a system that is transparent and provides

for significant oversight by EPA. EPA has complete real-time visibility into both the accounts of




5
  The Financial Agent concept is an established mechanism for disbursing government funding
that was first authorized in the 1860s and has been used for decades. U.S. Gov’t Accountability
Off., GAO-17-176, Revenue Collections And Payments: Treasury Has Used Financial Agents in
Evolving Ways but Could Improve Transparency (Jan. 2017), https://www.gao.gov/assets/gao-17-
176.pdf (“Treasury has a long history of using financial agents to support its core functions of
disbursing payments and collecting revenue.”). Relevant here, the use of a financial agent was
referenced in EPA’s Notice of Funding Opportunity released in July 2023, and the ACA was
described in the Terms and Conditions of the August NOA. Ex. 2 at 58; Ex. 1 at 56. Climate United
had no role in EPA’s decision to include the financial agent concept in the Notice of Funding
Opportunity in July 2023. Decl. ¶ 19. Climate United also had no role in the selection of the
financial agent, which was coordinated by EPA and the Treasury Department as part of a
competitive process. Id.
                                               12
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Climate United and those of its subrecipients. Decl. ¶ 20. The system displays expenditures broken

down by budget category, and it provides EPA with full visibility of program income generated

by Climate United or any subrecipient. Decl. ¶ 17.

          Citibank’s main role is to disburse funds to Climate United when Climate United asks for

them. Section 2 of the ACA provides that Citibank “shall comply with all instructions,

notifications, and entitlement orders the Bank receives directing the disposition of funds and

financial assets in the Accounts including, without limitation, directions to distribute proceeds of

any such transfer or redemption of interest or dividends on financial assets in the Accounts.” Ex.

8 at 3.

          The only circumstance in which Citibank is not required to disburse funds to Climate

United is if EPA exercises its right of control over the funding under the ACA. Id. To do so, EPA

must notify Citibank that it is exercising exclusive control over the account in a form substantially

similar to a sample Notice of Exclusive Control contained in the ACA. Id.; id. at Ex. A; see also

id. at 1 (stating that Climate United and EPA “have agreed that the terms and conditions entitled

‘Deposit Account at Financial Agent’ in the Grant Agreement indicate the conditions under which

[EPA] may exercise its right of control”). 6

          The ACA spells out when EPA may take exclusive control over the funds. Under the ACA,

as amended, EPA may take exclusive control of the funds when, “[a]s required by the Grant

Agreement, the Secured Party [i.e., EPA] has issued a written determination and finding that

Pledgor [i.e., Climate United] has failed to comply with the terms and conditions of the Grant

Agreement, and that noncompliance is substantial such that effective performance of the Grant




6
 The January 13, 2025 amendment clarifies the parties’ intent regarding the treatment of certain
obligations that were “properly incurred,” if EPA issues a Notice of Exclusive Control. Ex. 9.
                                                 13
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Agreement is Materially Impaired or there is adequate evidence of Waste, Fraud, or Abuse (as

defined in the Grant Agreement).” Ex. 9 at Ex. A. In short, EPA may take exclusive control only

when termination is warranted under the Terms and Conditions of the grant award. Compare id.

(incorporating the standard for termination in the Terms and Conditions), with Ex. 3 at 41

(discussing termination under “programmatic conditions”), and Ex. 4 at 5 (“All Programmatic

Conditions Remain the Same”). Further, the ACA requires EPA to affirm that it, as “the Secured

Party[,] has initiated action under 2 CFR 200.339 to wholly or partly suspend or terminate the

Grant Agreement, as authorized in the terms of the Grant Agreement.” Ex. 9 at Ex. A.

       Climate United drew down grant funds through the Automated Standard Application for

Payments (“ASAP”) system from August 2024 until November 2024 when the accounts at

Citibank were established. Decl. ¶¶ 16-17. EPA has since disbursed the balance of Climate

United’s grant funds into the designated Citibank accounts. Id. ¶ 17. Approximately every two

weeks, Climate United began to draw money from those accounts to do its work and carry out its

obligations under the grant. Id. ¶ 21.

       E.      Climate United Has and Will Invest Its Awarded Funds to Further the Goals
               of the Inflation Reduction Act.
       Consistent with the purpose of the Inflation Reduction Act, Climate United developed and

EPA approved a workplan that was finalized with the award and posted publicly. As enumerated

in the workplan, the Climate United coalition plans to commit at least $580 million toward

qualified projects in the first year of funding (i.e., before July 2025), and to draw the full $6.97

billion award over the first five years of the program. Id. ¶ 13. The Climate United coalition has

committed $392 million to qualified projects to date. Id. Approximately 45% of Climate United

investments, or approximately $2.8 billion of the grant award, will focus on investing in energy-

efficient buildings and homes. Id. ¶ 14. Approximately 20% of Climate United’s investments, or


                                                14
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approximately $1.2 billion of the NCIF Award, will focus on electric transportation and charging

infrastructure. Id. Another approximately 25% of Climate United’s investments, or approximately

$1.5 billion of the NCIF Award, will focus on producing affordable, clean electricity and heat

through renewable energy generation and battery storage, including solar power, hydroelectric and

geothermal. Id. The remaining 10% of investments will focus on other sectors that cut costs, reduce

pollution, and provide direct benefits to American families, including in agriculture. Id. Pursuant

to its workplan, Climate United will deploy 60% of its investments in low- and moderate-income

communities, 20% of its loans in rural communities, and 10% of its investments in tribal

communities. Id. ¶ 13.

       Climate United has already launched three financing projects to date. First, it has

committed $31.8 million to finance 18 solar projects benefiting rural communities in Arkansas,

comprising the largest commercial solar deployment in the state’s history. Id. ¶ 24. The project,

announced in October 2024, is projected to save over $120 million in energy costs and create

hundreds of jobs. Id.

       Second, Climate United has launched a program to establish affordable leasing options for

battery electric heavy-duty trucks to small fleets and independent contractors. Id. ¶ 25. In October

2024, Climate United issued a request for proposals from qualified U.S. auto manufacturers to

deliver up to 500 electric drayage trucks, which Climate United will then use to support an

affordable leasing program at the ports of Long Beach and Los Angeles before expanding the

program across the country. Id. When completed, these orders will represent some of the largest

ever purchases of domestically manufactured battery electric trucks in U.S. history. Id. This

program will reduce the cost per mile to operate drayage trucks, reduce air pollution in port

communities, and increase demand for U.S. manufacturing. Id.



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       Third, Climate United has committed $63 million to finance the design and development

of solar power plants in partnership with Tribal governments and communities in Eastern Oregon

and Idaho. Id. ¶ 26. The project will increase access to affordable energy for rural communities

and Indigenous people, in addition to bringing high-quality jobs and accelerating local economic

development. Id.

       In addition to these three projects, Climate United has also recently closed a round of

applications for its Climate United NEXT program, which will provide up to $30 million in

technical assistance and planning support for clean energy projects to increase energy

independence, reduce pollution, and help families and small businesses. Id. ¶ 27. Climate United

has approved 22 awards across 18 states, and it anticipates issuing over $6.345 million in initial

subawards. Id.

       Consistent with the terms of the award, Climate United has also used grant funds for

salaries and benefits of approximately 37 employees who empower Climate United to do its work:

selecting partners, ensuring grant compliance, conducting oversight of subrecipients, analyzing

financial transactions, engaging with communities, and servicing a portfolio of loans. Id. ¶ 23.

       F.        Following Statements and Actions by Administration Officials, Citibank
                 Refused to Disburse Funds.

                 1. EPA, DOJ, and OIG Actions

       On January 20, 2025, President Trump assumed office. His nominee for EPA

Administrator, Lee Zeldin, was confirmed on January 30, 2025. Less than two weeks later,

Administrator Zeldin publicly announced EPA’s goal to take possession of grant funds disbursed

pursuant to the Inflation Reduction Act, referring to Climate United by name. 7 In that same public



7
 Lee Zeldin (@EPALeeZeldin), X (Feb. 12, 2025, 7:52 PM), https://x.com/epaleezeldin/status/
1889840040622321778.
                                                16
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statement, Administrator Zeldin stated: “the financial agent agreement with the Bank needs to be

instantly terminated,” “the Bank must immediately return” the funding, and until it has “recovered”

the grant funds, the EPA is “not going to rest.” 8 Administrator Zeldin did not identify any specific

basis for adverse action under the terms of Climate United’s grant award—or under the award of

any other funding recipient.

        On February 19, Administrator Zeldin stated that he had just read a GGRF grant agreement,

and called it “wild.” 9 He stated on multiple occasions that EPA has cancelled several grant

agreements regarding climate and the environment, apparently unilaterally. 10 On February 23,

Administrator Zeldin discussed the GGRF program on national television and stated, without

basis, that “the entire scheme, in my opinion, is criminal.” 11 One week later, EPA issued a letter

to its Office of the Inspector General requesting a formal investigation into GGRF funding. 12 Then,

on March 4, Administrator Zeldin stated: “The money is now FROZEN and DOJ/FBI is

investigating.” 13




8
   Rapid Response 47 (@RapidResponse47), X (Feb. 25, 2025, 10:16 AM), https://x.com/Rapid
Response47/status/1894406216052289869.
9
   Lee Zeldin (@EPALeeZeldin), X (Feb. 19, 2025, 4:01 PM), https://x.com/epaleezeldin/
status/1892318587961930086.
10
    Lee Zeldin (@EPALeeZeldin), X (Feb. 22, 2025, 2:10 PM), https://x.com/epaleezeldin/
status/1893377875220332772 (proclaiming EPA has “cancelled” various “DEI and environmental
justice grants and contracts”); see also @EPALeeZeldin, X (Feb. 28, 2025, 5:40 PM),
https://x.com/epaleezeldin/status/1895604975860125829.
11
     SundayMorningFutures (@SundayMorningFutures), X (Feb. 23, 2025, 11:21 AM),
https://x.com/SundayFutures/status/1893697750937505807; see also Zack Colman, Recipient
Isn’t Giving in as Trump’s EPA Tries to Revoke Climate Grants, Politico (Feb. 24, 2025),
https://www.politico.com/news/2025/02/24/climate-grant-recipient-spending-trumps-epa-tries-
claw-back-00205814 (collecting quotes).
12
   Press Release, EPA, EPA Formally Refers Financial Mismanagement of $20B “Gold Bars” to
Inspector General (Mar. 3, 2025), https://www.epa.gov/newsreleases/epa-formally-refers-
financial-mismanagement-20b-gold-bars-inspector-general.
13
    Lee Zeldin (@EPALeeZeldin), X (Mar. 4, 20255, 6:02 PM), https://x.com/epaleezeldin/
status/1897060177784004921.
                                                 17
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        Administrator Zeldin stated that he would take action with “the Inspector General’s Office

and will work with the Justice Department” to ensure EPA “reassume[s] responsibility for all of

these funds.” 14 According to public reporting, the Office of the Deputy Attorney General at the

Department of Justice (“ODAG”) instructed the U.S. Attorneys’ Office in Washington, D.C.

(“USAO-DC”) that it wished to open a criminal investigation into EPA’s award. 15 At that point,

the top criminal prosecutor in USAO-DC advised that there was not an adequate factual basis to

do so. 16 ODAG instructed that a letter be sent directing Citibank to refuse to release grant funds

pursuant to a criminal investigation. Id. Senior officials at USAO-DC asserted there was not

sufficient evidence to justify issuing that letter, and, consistent with her oath of office, the Chief

of the Criminal Division refused to send it. She was then forced to resign. Id. According to follow-

up reporting, the Interim U.S. Attorney in the USAO-DC then submitted a seizure warrant

application, apparently without signoff from any other prosecutor in that office. 17 A Magistrate

Judge rejected it. Id.

                2. Citibank’s Failure to Disburse Funds
        On February 18, 2025, Citibank began refusing to comply with Climate United’s requests

for disbursement. On that day, Climate United placed a request to draw funds from its account. In



14
   Lee Zeldin (@EPALeeZeldin), X (Feb. 12, 2025, 7:52 PM), https://x.com/epaleezeldin/status/
1889840040622321778.
15
   Read the Resignation Letter by Denise Cheung, a Veteran D.C. Federal Prosecutor, Wash. Post
(Feb. 18, 2025), https://www.washingtonpost.com/dc-md-va/2025/02/18/read-resignation-letter-
denise-cheung/ [hereinafter Resignation Letter]; see also Kyle Cheney, et al., Senior Prosecutor
in Washington Quits, Citing Pressure to Probe Biden-era Climate Funds, Politico (Feb. 18, 2025),
https://www.politico.com/news/2025/02/18/denise-cheung-us-attorneys-office-washington-
020363.
16
    Resignation Letter (noting assessment that no “predicate for opening such a grand jury
investigation existed” on the face of the existing documents provided by ODAG).
17
   Spencer Hsu, Maxine Joselow & Nicolas Rivero, FBI takes up EPA Probe Amid Pushback from
Judge, Prosecutors, Wash. Post (Feb. 27, 2025), https://www.washingtonpost.com/dc-md-
va/2025/02/27/trump-fbi-epa-grant-investigation/.
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the normal course, Citibank would have distributed funds to Climate United approximately that

same day, but no transaction was reflected on Climate United’s account. Decl. ¶ 28. After Citibank

did not disburse any funds, Climate United emailed Citibank on February 19 requesting

disbursement, an explanation, and an opportunity for Climate United to respond to any instruction

or action impacting its accounts. Id. ¶ 29. Citibank did not respond. Id. On February 21, 2025,

Climate United placed another request to Citibank to draw funds from Climate United’s account.

Id. ¶ 31. But again, no disbursement occurred. Id.

       On February 25, counsel for Climate United emailed Citibank requesting disbursement

within 24 hours or, alternatively, for Citibank to provide any legal bases for its decision to withhold

funding. Id. ¶ 32. Citibank again did not respond. Id. The next day, counsel left voicemail messages

for Citibank, but Citibank did not respond. Id. ¶ 33. On March 1, counsel submitted a letter to the

Chief Executive and Chief Legal Officers of Citibank explaining that it is illegally withholding

Climate United’s funds in breach of the ACA. Citibank has ignored Climate United’s repeated

requests for information; and has failed to provide any legal basis for Citibank’s actions. The letter

requested a response by March 4. Id. ¶ 35. Again, Citibank failed to respond. Id.

       Finally, Citibank responded to Climate United on a separate email chain on March 3. Id.

¶ 36. Citibank stated: “We have received your correspondence and have forwarded it to the United

States Environmental Protection Agency and other federal officials for an appropriate response.

… Once we have further information available regarding the program we can provide at that time.”

After Climate United replied requesting clarification, Citibank stated: “We are awaiting further

guidance.” Ex. 6. On March 4, 2025, counsel for Climate United submitted a letter to EPA by

email, notifying EPA that Climate United has been unable to access its funding and to request

information regarding the nature of and legal justification for EPA’s actions. Id. ¶ 37. The letter



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requested that EPA immediately reverse its actions and reinstate Climate United’s access to its

NCIF funding. EPA did not respond. But in an article reporting on the letter, Citibank’s spokesman

stated that Citibank is working to “address government officials’ concerns” and “will of course

comply with any binding instructions from the federal government.” 18

       Over this period, EPA likewise failed to provide any reasoned explanation for its actions

or any meaningful opportunity to object or be heard. When it became apparent that Citibank was

not disbursing Climate United’s funding, Climate United emailed EPA officials notifying them

that they were being denied access to funds. EPA officials replied on February 21 with no

additional information, but offered to speak the following week. Decl. ¶ 30. EPA then rescheduled

three times. Id. ¶ 34. After Climate United informed EPA that outside counsel would be present,

an EPA official cancelled the meeting without rescheduling. Id. After calling the official on

February 27, the official’s administrative assistant confirmed that the official was in possession of

Climate United’s emails and would reach out. Id. As of the date of this filing, Climate United is

waiting for a response. Id.

       G.      Climate United Has Brought This Action to Vindicate Its Rights.

       This litigation followed. Climate United’s Complaint, ECF No. 1, asserts claims for breach

of contract, conversion, and replevin against Citibank, and claims under the Administrative

Procedure Act, 5 U.S.C. § 706(2)(A), and the Due Process Clause against EPA. Climate United

seeks to enjoin Citibank from breaching the ACA and continuing to refuse to disburse funds under

the ACA, and to bar EPA from unlawfully suspending or terminating the grant.




18
  Jeff Young, Green Group Wants EPA to Explain Why $20 Billion Accounts Are Frozen,
Newsweek (Mar. 4, 2025), https://www.newsweek.com/climate-united-fund-epa-letter-frozen-
bank-accounts-2039608.
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       On March 1 and 4, 2025, Climate United asked Citibank to disburse funds, and EPA to

stay the apparent suspension or termination of Climate United’s grant, pending judicial review.

Neither Citibank nor EPA have responded to these requests. This motion therefore seeks a

temporary restraining order to restrain Citibank from violating the ACA and to restrain EPA from

impeding Citibank’s compliance with the ACA or unlawfully suspending or terminating the grant.

                                       LEGAL STANDARD

       The same standard of proof applies for a movant to obtain either a temporary restraining

order or a preliminary injunction under Federal Rule of Civil Procedure 65. Bayer HealthCare,

LLC v. U.S. FDA, 942 F. Supp. 2d 17, 23 (D.D.C. 2013). 19 The moving party must “make a clear

showing that four factors, taken together, warrant relief: [1] likely success on the merits, [2] likely

irreparable harm in the absence of preliminary relief, [3] a balance of the equities in its favor, and

[4] accord with the public interest.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 6 (D.C.

Cir. 2016) (preliminary injunction); see also, e.g., Chef Time 1520 LLC v. Small Bus. Admin., 646

F. Supp. 3d 101, 109 (D.D.C. 2022) (temporary restraining order).

                                           ARGUMENT

I.     The Court Should Issue a Temporary Restraining Order Barring Citibank from
       Failing to Disburse Climate United’s Grant Funds Pursuant to the Contract.

       A.      Climate United Is Likely to Succeed on the Merits of Its Claims Against
               Citibank.

       Climate United is likely to succeed on the merits of its breach of contract claim because

(1) the ACA is a valid enforceable contract; (2) Citibank has breached the contract by failing to

perform without any legal or factual basis; and (3) Climate United has been harmed as a result.




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  Case citations and quotations are “cleaned up,” with extraneous quotation marks, alterations,
and citations removed, unless specified.
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        Under the ACA, Citibank has a duty to disburse Climate United’s grant funds to Climate

United. The ACA specifies that Citibank “shall comply with all instructions, notifications, and

entitlement orders the Bank receives directing the disposition of funds and financial assets in the

Accounts.” Ex. 8 at 2 (emphasis added). The ACA explains that Citibank’s duties with respect to

Climate United’s grant funding are exclusively “administrative or ministerial (and shall not be

construed to be fiduciary in nature),” and that Citibank “shall not be responsible” for determining

whether Climate United’s requests for the disbursement of grant funds comply with any applicable

contracts or laws. Id. at 3.

        Thus, the ACA does not provide Citibank with any discretion to decline to disburse funds

in response to Climate United’s requests. But since February 18, 2025, Citibank has repeatedly

failed to disburse grant funds to Climate United at Climate United’s requests. See supra pages 18-

20.

        Citibank has stated that it is waiting for direction from EPA before disbursing any grant

funds. See Ex. 6. But the ACA does not allow Citibank to withhold Climate United’s grant funds

unless EPA has given notice that it intends to exercise exclusive control over the account. See Ex.

8. EPA has not provided such notice. Nor has EPA undertaken any of the steps to exercise

exclusive control described in the ACA’s form Notice of Exclusive Control. See Ex. 9 at Ex. A.

        Citibank is therefore in breach of the ACA, and Climate United is likely to succeed on the

merits of its breach of contract claim. 20




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  Although Climate United also brings claims for conversion and replevin, in this motion Climate
United merely seeks to restrain Citibank from withholding grant funds and from refusing to follow
the ACA.
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       B.      Climate United Will Suffer Irreparable Harm Absent Injunctive Relief
               Against Citibank.

       Climate United has shown a likelihood of irreparable harm as well. “District Courts have

broad discretion to evaluate the irreparability of alleged harm and to make determinations

regarding the propriety of injunctive relief.” Wagner v. Taylor, 836 F.2d 566, 575-76 (D.C. Cir.

1987). Here, Climate United will suffer numerous irreparable harms, both monetary and non-

monetary, that justify the grant of injunctive relief.

       To begin, Citibank’s actions will cause irreparable economic harm to Climate United.

Economic harm is irreparable if it is “so severe as to cause extreme hardship to the business or

threaten its very existence.” National Ass’n of Mortg. Brokers v. Board of Governors of Federal

Reserve System, 773 F. Supp. 2d 151, 179 (D.D.C. 2011). As a court in this district recently

concluded in similar circumstances, a funding freeze results in irreparable harm when imposed on

organizations that “rely on continued funding in order to keep their doors open.” Nat’l Council of

Nonprofits v. Off. of Mgmt. & Budget, No. 25-cv-239, --- F. Supp. 3d ----, 2025 WL 597959, at

*18 (D.D.C. Feb. 25, 2025) (granting preliminary injunction); see also Nat’l Council of Nonprofits

v. Off. of Mgmt. & Budget, No. 25-cv-239, --- F. Supp. 3d ----, 2025 WL 368852, at *12 (D.D.C.

Feb. 3, 2025) (granting temporary restraining order).

       That is the case here. The grants funds in Climate United’s Citibank accounts fund Climate

United’s operations and financing for projects that Climate United either has launched or is

planning to launch. The Terms and Conditions of Climate United’s grant require Climate United

to “obtain prior written approval from the EPA Project Officer (who will in turn notify the EPA

Award Official) for any transfers that will not be disbursed for an Allowable Activity within 15

business days.” Ex. 3 at 57-59. In other words, under the terms of Climate United’s grant, it

generally can only seek 14 business days’ worth of funds at a time.


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       It has now been more than 14 business days since Citibank started withholding

funds. Climate United cannot currently access funds to pay its payroll and other expenses related

to immediate implementation of its EPA-approved program workplan. Decl. ¶ 43. Climate United

does not have other committed sources of funding to replace the grant funds in its Citibank

accounts. Id. ¶ 40. Nor is private investment a viable replacement, because Climate United was

specifically awarded NCIF funding to “prioritize investment in qualified projects that would

otherwise lack access to financing.” 42 U.S.C. § 7434(b)(1)(B); see Decl. ¶ 41.

       Without access to the grant funds in its Citibank accounts, Climate United does not have

excess cash or reserves available to pay operating expenses. Decl. ¶ 43. Climate United therefore

imminently risks not being able to pay payroll or health, vision, and dental benefits, life insurance,

and short- and long-term disability insurance for its employees. Id. As a result of Defendants’

actions, Climate United has already been compelled to defer compensation for certain employees

to preserve its limited cash available. Id. Without a stable substitute source of funding, Climate

United will no longer be able to pay its employees. Id.

       Climate United also imminently risks not being able to pay rent or insurance for select

offices or to pay third-party contractors who perform necessary roles such as auditing its financial

statements, maintaining its IT security and infrastructure, and providing legal services. Decl. ¶ 45.

Continued failure to access the funds at Citibank would also prevent Climate United from meeting

its commitments under the loans and awards it has already approved and plans to approve. This

could force Climate United into breach of its existing agreements. Id. ¶¶ 46-48, 50. For example,

Climate United has already awarded pre-construction financing to support a monumental solar

power project in Arkansas and launched a project to purchase battery electric heavy-duty trucks

for leasing to small fleets and independent operators. But neither project could go forward without



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continued access to grant funds. Id. And future projects for which Climate United recently solicited

and received applications would not be funded. Id. ¶ 46. This would immediately impact a pre-

development grant program, Climate United NEXT, under which Climate United currently has

approved 22 awards across 18 states and anticipates issuing $6.345 million in initial subawards.

Id. ¶¶ 27, 46.

        More fundamentally, Citibank’s actions render Climate United incapable of fulfilling its

core mission of providing financing for qualified projects. An organization has a likelihood of

irreparable injury where “the actions taken by the defendant have perceptibly impaired the

organization’s programs” and “make it more difficult for [an organization] to accomplish [its]

primary mission.” League of Women Voters, 838 F.3d at 8-9. That is the case here: Climate United

cannot engage in financing without funds available for financing.

        Climate United’s economic harm qualifies as irreparable for a second reason. Preliminary

injunctions are awarded “where the subject of the action involves a specific fund.” Destiny USA

Holdings, LLC v. Citigroup Glob. Mkts. Realty Corp., 69 A.D.3d 212, 217 (N.Y. App. Div., 4th

Dep’t 2009) (holding that borrower was entitled to preliminary injunction against Citigroup when

Citigroup failed to honor draw requests from specific account); see Deem v. Baron, No. 15-cv-

00755, 2018 WL 377286, at *2 (D. Utah Jan. 11, 2018) (“Many cases hold that a monetary

damages claim directed at a specific fund is viable as an irreparable injury worthy of an injunction

because the property, not the value of the property, is the true subject of the action.”). Here, a

preliminary injunction is warranted because Climate United is seeking to vindicate its interest in

specific accounts containing withheld funds, and its right to draw from those specific accounts.

        Climate United will also suffer nonquantifiable harms that independently qualify as

irreparable harm warranting injunctive relief. First, if Climate United is unable to pay employees



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or is forced to furlough employees, that would seriously impair its ability to retain and attract

employees and to enter into beneficial arrangements with necessary contractors in the future. Decl.

¶¶ 43, 45. Courts routinely recognize that “loss of talent and the inability to recruit and retain

employees to build—or even maintain—[a plaintiff’s] business” constitutes irreparable harm.

Luokung Tech. Corp. v. Dep’t of Def., 538 F. Supp. 3d 174, 194 (D.D.C. 2021) (alteration in

original) (collecting cases).

       Second, absent access to its grant funds, Climate United will suffer serious and irreversible

reputational harm. Without secure funding, Climate United will be unable to attract high-quality

applicants with a demonstrated ability to develop and carry out clean energy projects, as such

applicants will not seek funding that is in significant doubt. Decl. ¶ 51. Likewise, Climate United

will be significantly impaired in its ability to attract co-investors, who will require proof of stable

government funding prior to investing. Id. Finally, Climate United will be seen as a greater

financial risk by contractual counterparties, which impacts the favorability of terms Climate United

can receive in contractual arrangements. Id. ¶ 52. This reputational damage reduces the quality and

quantity of potential projects Climate United can pursue and the willingness of private capital to

co-invest in those projects. That harm qualifies as irreparable. Atlas Air, Inc. v. International

Brotherhood of Teamsters, 280 F. Supp. 3d 59, 103 (D.D.C. 2017) (“Injury to reputation or

goodwill is not easily measurable in monetary terms, and so often is viewed as irreparable”).

       Third, the injury in this case is irreparable because Climate United is unable to access funds

it was awarded pursuant to a program authorized by an Act of Congress. Where, as here, grant

recipients “continue to experience interruptions to access and … draw[ing] down funds from grants

funded by … [Inflation Reduction Act] appropriations,” grant recipients “unquestionably” suffer

irreparable harm. See New York v. Trump, No. 25-cv-00039, slip op. at 41-42 (D.R.I. Mar. 6, 2025),



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ECF No. 161. “Congress enacted these statutes and appropriated these funds for legitimate reasons,

and the Defendants’ categorical freeze, untethered to any statute, regulation or grant term,

frustrates those reasons, and causes significant and irreparable harms[.]” Id. at 39.

       C.        The Balance of Equities Favors Climate United Over Citibank.

       Where an injunction “will not substantially injure other interested parties,” the balance of

equities tips in plaintiffs’ favor. League of Women Voters, 838 F.3d at 12. In this case, Citibank

“cannot suffer harm from an injunction that merely ends an unlawful practice.” Open Cmtys. All.

v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017) (quoting Rodriguez v. Robbins, 715 F.3d 1127,

1145 (9th Cir. 2013)). Nor can Citibank show it would suffer any harm—let alone substantial

harm—as the result of an injunction. Citibank has no right to or interest in the funds it is holding,

but rather is the intermediary by which federal funding is provided to Climate United. Cf. Coastal

Cntys. Workforce, Inc. v. LePage, 284 F. Supp. 3d 32, 60 (D. Me. 2018) (holding that balance of

equities favored injunction requiring release of funding by state where “there would be little, if

any, burden on the state treasury, since the federal funds pass-through the state on their way to the

local areas”).

       In contrast, Citibank’s refusal to disburse Climate United’s grant funds poses an

“existential consequence” for Climate United’s mission and risks forcing Climate United to

“shut[ ] down programs, … furlough[ ] and lay[ ] off employees, [or] shutter[ ] altogether,” all of

which are significant consequences that tilt in its favor. AIDS Vaccine Advocacy Coal. v. U.S.

Dep’t of State, No. 25-cv-400, --- F. Supp. 3d ----, 2025 WL 485324, at *6 (D.D.C. Feb. 13, 2025);

see also Nat’l Council of Nonprofits, --- F. Supp. 3d ----, 2025 WL 368852, at *13 (similar).

       D.        Enjoining Citibank Is Firmly in the Public Interest.

       Finally, ensuring that Climate United can continue to access its awarded funds is strongly

in the public interest. “[T]he public interest is served by … enforcing valid contractual provisions

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[ ] to which parties have voluntarily entered.” Merrill Lynch, Pierce, Fenner & Smith Inc. v. Wertz,

298 F. Supp. 2d 27, 34-35 (D.D.C. 2002). In the ACA, Citibank agreed to a specific procedure by

which EPA could issue a Notice of Exclusive Control to prevent Citibank from disbursing funds

to Climate United. See supra pages 13-14. But Citibank has ignored that procedure by cutting off

Climate United’s access to funds without having received any Notice of Exclusive Control.

       In addition, the public interest in enjoining Citibank’s unlawful refusal to disburse funds is

particularly acute here. The American public has an interest in the billions of dollars of investment

that Congress authorized through the Inflation Reduction Act in 2022. Climate United was

awarded funding in line with that interest—for example, by advancing projects to develop solar

power and electric vehicles—and intends to continue to do so. Decl. ¶¶ 14, 24-27. Injunctive relief

is necessary to permit Climate United to carry out these critical projects, which “Congress, in

enacting” the Inflation Reduction Act, “declared to be in the public interest.” League of Women

Voters, 838 F.3d at 13.

II.    The Court Should Issue a Temporary Restraining Order Barring EPA from
       Impeding Citibank from Receiving Grant Funds Without Lawful Justification.

       A.      Climate United Is Likely to Succeed on the Merits of Its APA and Due Process
               Claims.

       Although EPA has publicly stated that Citibank is acting “voluntarily,” see Compl. ¶ 65(h),

it appears that EPA has caused Citibank to refuse to honor Climate United’s disbursement requests.

EPA’s Administrator has stated that “the financial agent agreement with the Bank needs to be

instantly terminated,” stated that “the Bank must immediately return” the grant funds, and stated

that EPA is “not going to rest” until it has “recovered” the grant funds. Supra page 17. The EPA

Administrator publicly stated that the grant funds were “FROZEN.” Id. Citibank, for its part,

represented that it had forwarded Climate United’s requests to EPA and was awaiting “guidance.”

Supra page 19.
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       To the extent EPA has de facto suspended or terminated Climate United’s grant, its actions

are unlawful. Under the APA, this Court must hold unlawful and set aside final agency action that

is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A). This standard is satisfied several times over. First, EPA has not offered an adequate

explanation for its apparent decision to suspend or terminate the award. The APA requires an

agency to give adequate reasons for its actions. Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 48 (1983) (“[A]n agency must cogently explain why it has

exercised its discretion in a given manner.”). Yet EPA has not offered any reasoned explanation—

despite regulations that require EPA to provide written notice of termination that includes “the

reasons for termination, the effective date, and the portion of the Federal award to be terminated.”

2 C.F.R. § 200.341; Ex. 3 at 41 (incorporating this regulatory requirement into the grant’s Terms

and Conditions).

       Statements in the media by the EPA Administrator and EPA personnel do not provide the

reasoned explanation the APA requires. See Dep’t of Com. v. New York, 588 U.S. 752, 785 (2019)

(requiring the agency’s reasoning to fit the evidentiary record); Kansas City v. Dep’t of Hous. &

Urban Dev., 923 F.2d 188, 194 (D.C. Cir. 1991) (advising that if a grant is terminated for

substantive deficiencies, “then that fact should have been made plain in the agency decisions”).

Those statements are particularly insufficient to support EPA’s decision to suspend or terminate

Climate United’s grant given that the grant was awarded following months of rigorous review as

part of a competitive application process. See Verizon v. F.C.C., 740 F.3d 623, 636 (D.C. Cir.

2014) (“The APA’s requirement of reasoned decision-making ordinarily demands that an agency

acknowledge and explain the reasons for a changed interpretation.”) (citing F.C.C. v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009)).



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       Second, EPA’s suspension or termination violates federal regulations which limit the

grounds upon which EPA may terminate the award. “It is axiomatic[ ] … that an agency is bound

by its own regulations.” Nat’l Envtl. Dev. Ass’n’s Clean Air Project v. EPA, 752 F.3d 999, 1009

(D.C. Cir. 2014). An agency may not “ignore or violate its regulations while they remain in effect.”

U.S. Lines, Inc. v. Fed. Mar. Comm’n, 584 F.2d 519, 526 n.20 (D.C. Cir. 1978); see also Nat’l

Envtl. Dev. Assocs. Clean Air Project, 752 F.3d at 1009 (holding that “an agency action may be

set aside as arbitrary and capricious if the agency fails to ‘comply with its own regulations’”).

       EPA’s grant regulations provide that any unilateral grant termination must be based on the

grant award’s terms and conditions, 2 C.F.R. § 200.340(a)(1), (4), which must “clearly and

unambiguously specify all termination provisions in the terms and conditions of the Federal

award,” id. § 200.340(b). The Terms and Conditions governing Climate United’s grant award

expressly limit EPA only to three possible grounds for termination: “when [1] the noncompliance

with the terms and conditions is substantial such that effective performance of the Assistance

Agreement is Materially Impaired or [2] there is adequate evidence of Waste, Fraud, or Abuse or

[3] material misrepresentation of eligibility status.” Ex. 3 at 41.

       None of these grounds is satisfied here. EPA has not put forward any evidence to find that

Climate United has failed to comply with any Terms and Conditions of the grant, or that Climate

United is “substantially noncompliant” such that “effective performance” of the Grant Agreement

is “Materially Impaired,” id. 21



21
   Nor could EPA meet the two conditions necessary to show that Climate United’s actions have
“materially impaired” the grant agreement. See Ex. 3 at 9, 13-15, 22, 40; 2 C.F.R. § 200.339; 2
C.F.R. § 200.208 (requiring EPA to issue “a written determination and finding” that Climate
United “has failed to achieve sufficient progress in accordance with the Sufficient Progress clause”
in EPA’s General Terms and Conditions, and issue a “separate written determination and finding”
that “noncompliance cannot be remedied by imposing specific conditions” after giving Climate
United an opportunity to remedy any noncompliance).
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        Nor has EPA offered any evidence of “Waste, Fraud, or Abuse,” 22 or that Climate United

has made any material misrepresentations about its eligibility status. Indeed, there is absolutely no

factual basis for any such findings.

        As well, EPA may withhold payment for allowable costs during the period of performance

only where required by Federal statute or regulations or where (i) the recipient “has failed to

comply with the terms and conditions of the Federal award”; or (ii) the recipient is “delinquent in

a debt to the United States.” 2 C.F.R. § 200.305(b)(6). Moreover, where funding is withheld on

the grounds that a recipient failed to comply with the terms and conditions of the award, the federal

agency may “[t]emporarily withhold payments” only where it “determines that noncompliance

cannot be remedied by imposing specific conditions.” 2 C.F.R. § 200.339. Those conditions are

not satisfied here.

        Third, EPA’s suspension or termination contravenes a duly enacted statute. In the Inflation

Reduction Act, Congress appropriated $27 billion for distribution under the Greenhouse Gas

Reduction Fund. 42 U.S.C. § 7434. EPA is legally required to spend those funds unless it satisfies

the stringent requirements for rescinding an appropriation, which, as discussed above, EPA has

not done. See 2 U.S.C. § 683. That is further reason to find EPA’s actions are a violation of federal

law. See Train v. City of New York, 420 U.S. 35 (1975) (holding that EPA violated federal law by

implementing President’s directive not to spend appropriated funds on grants as required by

statute).




22
   To qualify as “adequate evidence of waste, fraud, or abuse,” EPA must provide “credible
evidence of the commission of a violation of Federal criminal law involving fraud, conflict of
interest, bribery, or gratuity violations found in Title 18 of the United States Code or a violation
of the civil False Claims Act[,] 31 U.S.C. [§§] 3729-3733.” Ex. 3 at 12 (defining “Waste, Fraud,
or Abuse” according to EPA’s General Terms and Conditions and 2 C.F.R. § 200.113). EPA has
not put forward facts that would satisfy this standard.
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       EPA’s actions also violate the Due Process Clause. EPA’s Administrator has stated that

“[t]he money is now FROZEN.” It is hornbook law that the government cannot freeze assets, even

temporarily, unless it provides due process. See United States v. E-Gold, Ltd., 521 F.3d 411, 416

(D.C. Cir. 2008) (even when an asset seizure is “potentially temporary, the deprivation of property

is subject to the constraints of due process”), abrogated on other grounds by Kaley v. United States,

571 U.S. 320 (2014). Here Climate United has received no notice, no hearing, and no process of

any kind. According to public reporting, a magistrate judge refused to issue a seizure warrant. No

one has ever told Climate United what it did wrong. EPA has refused to meet with Climate United.

And yet, apparently EPA’s actions have caused Climate United’s assets to be frozen. That is a due

process violation.

       For all of these reasons, EPA’s suspension and termination is unlawful. Climate United has

therefore exceeded the required showing of a likelihood of success on the merits to warrant a

temporary restraining order. See, e.g., League of Women Voters, 838 F.3d at 9.

       B.      Climate United Will Suffer Irreparable Harm Absent Injunctive Relief
               Against EPA.

       For the reasons discussed above as to Citibank, Climate United has shown it will suffer

irreparable harm if EPA’s unlawful suspension or termination of its grant is not enjoined.

Specifically, without its grant funds, Climate United will no longer be able to pay its employees,

rent, contractors, subawardees, and contractual counterparties. Absent an immediate injunction,

Climate United will suffer serious and irreversible reputational harm if its grant appears to be

insecure or invalidated.

       C.      The Balance of Equities Favors Climate United Over EPA

       Where an injunction “will not substantially injure other interested parties,” the balance of

equities tips in plaintiffs’ favor. League of Women Voters, 838 F.3d at 12. In this case, EPA “cannot


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suffer harm from an injunction that merely ends an unlawful practice.” Open Cmtys. All., 286 F.

Supp. 3d at 179 (quoting Rodriguez, 715 F.3d at 1145). Nor can EPA show it would suffer any

harm, or substantial harm, as the result of an injunction.

       EPA’s recent decision to select Climate United for NCIF funding and disburse the grant is

evidence that EPA viewed the grant award as consistent with the interests of EPA and undermines

any claim to hardship. Moreover, the Inflation Reduction Act prohibits EPA from allocating any

funding it withdraws from Climate United for purposes other than those contemplated under the

Act. See 42 U.S.C. § 7434(a)(2)-(3) (requiring that appropriated funds be used exclusively fund

grant awards issued by EPA before September 2024). Injunctive relief would thus not “actually do

much, if any, harm” to EPA’s “interest[s].” League of Women Voters, 838 F.3d at 13.

       The potential for waste, fraud, or abuse does not suffice to demonstrate harm to EPA.

Where a program has “existing safeguards,” the government must identify actual deficiencies in

those safeguards for an interest in “preserving taxpayer resources” to weigh in the public interest.

Pacito v. Trump, No. 25-cv-255, --- F. Supp. 3d ----, 2025 WL 655075, at *24 (W.D. Wash. Feb.

28, 2025); see also Art-Metal-USA, Inc. v. Solomon, 473 F. Supp. 1, 8 (D.D.C. 1978) (enjoining

agency from blacklisting plaintiff based on vague and generalized allegations of corruption). EPA

has not identified any such deficiencies here. EPA designed, structured, and negotiated the

financial agent arrangement and the specific terms of the ACA to provide transparency,

accountability, and a mechanism for EPA to assume exclusive control of the grant funds. The grant

agreement provides EPA with significant oversight over Climate United’s spending, which is

limited under the Terms and Conditions of the agreement. The grant agreement’s Terms and

Conditions further require Climate United to provide extensive progress reports, transaction- and

project-level reports, organizational disclosures, and ongoing disclosures to EPA. Ex. 3 at 13-17.



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Those protections—which EPA imposed and deemed sufficient when it entered into the grant

agreement—are therefore sufficient to protect EPA’s interests.

       In contrast, as discussed above, Defendants’ conduct poses an “existential consequence”

for Climate United’s mission and risks forcing Climate United to “shut[ ] down programs, …

furlough[ ] and lay[ ] off employees, [or] shutter[ ] altogether,” all of which are significant

consequences that tilt in its favor. AIDS Vaccine Advocacy Coal., 2025 WL 485324, at *6; see also

Nat’l Council of Nonprofits, 2025 WL 368852, at *13 (similar).

       D.      An Injunction Is Firmly in the Public Interest.

       Finally, ensuring that Climate United can continue to access its awarded funds is strongly

in the public interest. “There is generally no public interest in the perpetuation of unlawful agency

action.” League of Women Voters, 838 F.3d at 12. Rather, “there is a substantial public interest in

having governmental agencies abide by the federal laws that govern their existence and

operations.” Id.; see also Northern Mariana Islands v. United States, 686 F. Supp 2d 7, 21 (D.D.C.

2009) (“The public interest is served when administrative agencies comply with their obligations

under the APA.” (citing New Jersey v. EPA, 626 F.2d 1038, 1045 (D.C. Cir. 1980))); Patriot, Inc.

v. U.S. HUD, 963 F. Supp. 1, 6 (D.D.C. 1997) (“[T]he public interest is best served by having

federal agencies comply with the requirements of federal law.”). Moreover, “the public would be

served if the Executive Branch is enjoined from” managing appropriated funds “in a manner that

conflicts with the plain language of an appropriations bill.” General Land Office v. Biden, 722 F.

Supp. 3d 710, 745 (S.D. Tex. 2024) (citing League of Women Voters, 838 F.3d at 12).




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                                         CONCLUSION

       Climate United’s motion for a temporary restraining order should be granted. Specifically,

the Court should enter the following relief:

   •   Citibank should be restrained from refusing to comply with Climate United’s disbursement

       requests under the ACA. This restraining order should apply both to already-submitted

       requests and to future requests while the restraining order is in force, so long as those

       requests comply with the ACA.

   •   EPA should be restrained from impeding Citibank from complying with its obligations

       under this TRO, and from unlawfully suspending or terminating Climate United’s grant.

Dated: March 10, 2025                            Respectfully submitted:

                                                 /s/ Adam G. Unikowsky

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                                                     * Application to Court pending.

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